       Case 2:17-cv-02441-JWL-KGG Document 1 Filed 08/02/17 Page 1 of 6




MANN, WYATT & RICE, LLC
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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

JEFFERY TYLER,                      )
                                    )
            Plaintiff,              )
                                    )
v.                                  )                          Case No. 2:17-cv-2441
                                    )
RICHARD EINSPAHR and YRC, INC.      )
d/b/a YRC FREIGHT, YRC WORLDWIDE,)
INC.                                )
                                    )
            Defendants.             )
____________________________________)

                                           COMPLAINT

       In support of this Complaint, Plaintiff Jeffery Tyler alleges and states as follows:

                                Parties, Jurisdiction, and Venue

       1.      Plaintiff Jeffery Tyler (“Plaintiff”) is a resident and citizen of the State of

Missouri. He resides in Independence, Missouri.

       2.      Defendant Richard Einspahr (“Einspahr”) is a resident and citizen of the state of

Wyoming. He may be served with process at 5047 Pine Ridge Avenue, Cheyenne, WY 82003.

       3.      Defendant YRC, Inc. (“YRC”) is a Kansas foreign for-profit corporation

authorized to do business in the State of Kansas that may be served with process at 112 SW 7th

Street, Suite 3C, Topeka, KS 66603 through its resident agent, The Corporation Company, Inc.

       4.      Defendant YRC Worldwide, Inc. (“YRC, Inc.”) is a Kansas foreign for-profit

corporation authorized to do business in the State of Kansas that may be served with process at

                                                  1
       Case 2:17-cv-02441-JWL-KGG Document 1 Filed 08/02/17 Page 2 of 6




112 SW 7th Street, Suite 3C, Topeka, KS 66603 through its resident agent, The Corporation

Company, Inc.



        5.      The Court has personal jurisdiction over Plaintiff as he has submitted himself to

such as the party initiating this action.

        6.      Richard Einspahr operates and transact business in Kansas. The accident and

injury occurred in Kansas while Einspahr was in the course of employment driving a truck in

Kansas. Thus, the Court as personal jurisdiction over Einspahr.

        7.      YRC d/b/a YRC Freight operate and transact business in Kansas. The accident

and injury occurred in Kansas while their employee, Einspahr, was driving a truck in Kansas.

Thus, the Court has personal jurisdiction over YRC d/b/a YRC Freight.

        8.      The Court has subject matter jurisdiction over the cause of action and personal

jurisdiction over the parties’ given their diversity of citizenship and the fact that the amount in

controversy exceeds $75,000.00. See 28 U.S.C. § 1332(a).

        9.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because the acts and

omissions giving rise to the claim alleged and described in this Complaint occurred in Olathe,

Kansas.

                                            The Accident

        10.     I-35 is a four to six-lane highway in Olathe, Johnson County, Kansas that runs

north/south.

        11.     Near Milepost 213 on I-35, there is a Scalehouse (“the Southbound Scalehouse”)

on the right side of the highway where trucks exit the highway to weigh their cargo load.




                                                  2
       Case 2:17-cv-02441-JWL-KGG Document 1 Filed 08/02/17 Page 3 of 6




       12.     On January 20, 2016, at about 11:30 a.m., Plaintiff was traveling southbound on I-

35. He was driving a semi-truck owned and operated by Stockgrain, Inc. while in the course and

scope of his employment. Plaintiff’s truck was stopped and stationery, waiting for the

Scalehouse scale to clear in front of him.

       13.     Plaintiff had exited onto the Southbound Scalehouse to weigh his cargo load. The

exit ramp for the Southbound Scalehouse is a single lane.

       14.     At about the same time, a semi-truck driven by Earl Ackerman (“Ackerman”) was

also traveling southbound on the exit ramp for the Southbound Scalehouse. The truck driven by

Ackerman was directly behind the truck driven by Plaintiff. Ackerman’s truck as also stopped

and stationery, waiting for the Scalehouse scale to clear in front of him.

       15.     At about the same time, a semi-truck driven by Defendant Einspahr and

owned/operated by YRC and/or YRC Worldwide was also traveling southbound on the exit ramp

for the Southbound Scalehouse. The truck driven by Defendant Einspahr was directly behind the

truck driven by Ackerman.

       16.     Defendant Einspahr exited onto the Southbound Scalehouse exit ramp and

suddenly, unexpectedly, and violently rear-ended the truck driven by Ackerman. The collision

caused by Defendant Einspahr violently propelled the truck driven by Ackerman into the back of

the truck driven by Plaintiff.

       17.     The collision was so severe that the cab of Defendant Einspahr’s truck ended up

in the trailer of Ackerman’s truck, Ackerman’s truck violently collided with Plaintiff’s truck,

Plaintiff’s truck collided with another truck in front of him, and debris from the collision flew

forward striking yet another truck in front of the accident.

                        Count I – Negligence against Richard Einspahr



                                                  3
       Case 2:17-cv-02441-JWL-KGG Document 1 Filed 08/02/17 Page 4 of 6




        18.     Plaintiff incorporates all of the preceding paragraphs of his Complaint here by

reference.

        19.     Plaintiff submits that Defendant Einspahr is negligent and 100% at fault for the

collision with respect to the following actions and/or inactions:

                a. Failing to maintain a proper lookout;

                b. Failing to yield to Plaintiff’s right away;

                c. Failing to either slow or stop his vehicle to avoid a collision; and/or

                d. Failing to use reasonably and ordinary care to keep his vehicle under proper
                   control.

        20.     As a result of the collision, Plaintiff suffered severe bodily injury causing

significant ongoing pain, physical limitation, and requiring future medical treatment to address

her injuries.

        21.     Additionally, since the collision, Plaintiff has had a limited ability to perform day-

to-day activities and has incurred wage loss.

        22.     As a result of Defendant Einspahr’s negligence, Plaintiff has incurred medical

bills and will need future medical care and services to address his injuries and disabilities.

        23.     As a direct and proximate result of Defendant Einspahr’s negligence as set forth

in this Complaint, Plaintiff has sustained personal injuries that are permanent in nature and

damages in excess of $75,000.00.

        24.     Consequently, Plaintiff prays for judgment against Defendant Einspahr in an

amount in excess of $75,000.00 for past medical expenses, future medical expenses, past and

future lost services and disability, past and future wage loss, past and future pain, suffering, and

disability, for costs of this action, and for such other further relief as the Court deems just and

equitable.

                                                  4
       Case 2:17-cv-02441-JWL-KGG Document 1 Filed 08/02/17 Page 5 of 6




  County II – Negligence against YRC, Inc. d/b/a YRC Freight and YRC Worldwide, Inc.

        25.     Plaintiff incorporates all of the preceding paragraphs of his Complaint here by

reference.

        26.     Plaintiff submits that Defendants YRC d/b/a YRC Freight and YRC Worldwide,

Inc., through their agent and employee, were negligent and 100% at fault and vicariously liable

for their employee’s fault for the collision with respect to the following actions and/or inactions:

                a. Negligent operation of YRC d/b/a YRC Freight and/or YRC Worldwide, Inc.;

                b. Negligent supervision of its employees and/or agents; and/or

                c. Failure to properly and adequately train employees.

        27.     As a result of the collision, Plaintiff suffered severe bodily injury causing

significant ongoing pain, physical limitation, and requiring future medical treatment to address

her injuries.

        28.     Additionally, since the collision, Plaintiff has had a limited ability to perform day-

to-day activities and has incurred wage loss.

        29.     As a result of Defendants YRC d/b/a YRC Freight’s and/or YRC Worldwide,

Inc.’s negligence, Plaintiff has incurred medical bills and will need future medical care and

services to address his injuries and disabilities.

        30.     As a direct and proximate result of Defendants YRC d/b/a YRC Freight’s and/or

YRC Worldwide, Inc.’s negligence as set forth in this Complaint, Plaintiff has sustained personal

injuries that are permanent in nature and damages in excess of $75,000.00.

        31.     Consequently, Plaintiff prays for judgment against Defendants YRC d/b/a YRC

Freight and/or YRC Worldwide, Inc. in an amount in excess of $75,000.00 for past medical

expenses, future medical expenses, past and future lost services and disability, past and future



                                                     5
       Case 2:17-cv-02441-JWL-KGG Document 1 Filed 08/02/17 Page 6 of 6




wage loss, past and future pain, suffering, and disability, for costs of this action, and for such

other further relief as the Court deems just and equitable.

                                               Respectfully submitted,

                                               /s/ Michael J. Wyatt
                                               Michael J. Wyatt        (#23260)
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                                               201 E. 1st Avenue
                                               Hutchinson, KS 67501
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                                               mwyatt@mannwyattrice.com
                                               Attorney for Plaintiff Jeffery Tyler

                                DEMAND FOR A JURY TRIAL

       Plaintiff Jeffery Tyler respectfully requests a trial by jury of 12 persons of all issues

raised in this Complaint.

                                               Respectfully submitted,

                                               /s/ Michael J. Wyatt
                                               Michael J. Wyatt        (#23260)
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